Case 5:04-cv-05024-KES        Document 259       Filed 07/14/08   Page 1 of 16 PageID #: 2961




                             UNITED STATES DISTRICT COURT

                              DISTRICT OF SOUTH DAKOTA

                                   WESTERN DIVISION

  MINDY KAHLE,                               )           CIV. 04-5024-KES
                                             )
               Plaintiff,                    )
                                             )              ORDER ON
     vs.                                     )             MOTION FOR
                                             )           ATTORNEYS’ FEES
  JERMAINE LEONARD and                       )
  DEPUTY TIM MALONE,                         )
                                             )
               Defendants.                   )

           Plaintiff, Mindy Kahle, brought a claim pursuant to 42 U.S.C. § 1983

  against defendants Jermaine Leonard and Deputy Tim Malone for violating

  her civil rights.1 In her complaint, Kahle alleged that while she was a

  pretrial detainee at the Pennington County Jail correctional officer trainee

  Leonard forced her to engage in nonconsensual sexual contact. Kahle

  further alleged that Malone, as the correctional officer training Leonard,

  failed to supervise Leonard, thereby allowing the nonconsensual sexual

  contact to occur.

           Defendant Malone moved for summary judgment, in part based on his

  assertion that he was protected from suit by qualified immunity. This court

  denied Malone’s motion for summary judgment and Malone appealed. The


           1
         Kahle also brought claims against Sheriff Don Holloway, the Pennington
  County Sheriff’s Office, the Pennington County Jail, and Scott Schuft, which
  this court dismissed on summary judgment. Kahle v. Leonard, 2006 WL
  1519418 (D.S.D. 2006).
Case 5:04-cv-05024-KES      Document 259      Filed 07/14/08    Page 2 of 16 PageID #: 2962




  Eighth Circuit affirmed the denial of summary judgment in Kahle v.

  Leonard, 477 F.3d 544 (8th Cir. 2007). Malone subsequently petitioned the

  Eighth Circuit for a rehearing en banc, and when that was denied he

  unsuccessfully petitioned the Supreme Court for a writ of certiorari.

        After Malone’s appeal rights were exhausted, a trial was scheduled.

  During the trial, Kahle submitted evidence in support of her claims of

  violation of her civil rights, of civil battery, and of intentional infliction of

  emotional distress against Leonard. Additionally, Kahle presented evidence

  on her claim of failure to supervise against Malone. The jury found in favor

  of Kahle on the three claims she asserted against Leonard. The jury found

  in favor of Malone on Kahle’s failure to supervise claim. The jury awarded

  Kahle $600,000 in actual damages and $500,000 in punitive damages.

  Kahle now seeks attorneys’ fees and other costs incurred in bringing her

  action.

  I.    Attorneys’ Fees

        In a § 1983 action, the “prevailing party” is entitled to an award of

  reasonable attorneys’ fees. 42 U.S.C. § 1988(b). The $1.1 million verdict

  against Leonard makes Kahle a prevailing party, thereby entitling her to a

  reasonable attorneys’ fee award. See, e.g., Tyler v. Corner Constr. Corp.,

  Inc., 167 F.3d 1202, 1204 (8th Cir. 1999). Because Kahle was in state

  custody during the time of the violation, this litigation is covered by 42


                                              2
Case 5:04-cv-05024-KES      Document 259     Filed 07/14/08   Page 3 of 16 PageID #: 2963




  U.S.C. § 1997e, also known as the Prison Litigation Reform Act (PLRA),

  which contains additional limitations on Kahle’s ability to recover attorneys’

  fees.

          In determining what is a reasonable attorneys’ fee award, the court

  must determine “the number of hours reasonably expended on the litigation

  multiplied by a reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S.

  424, 433, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983). The figure obtained by

  the calculation is known as the lodestar. See Hanig v. Lee, 415 F.3d 822,

  824 (8th Cir. 2005). In Hensley, the Court found that in determining an

  attorneys’ fee award under § 1988 in a case with multiple related claims, the

  “district court should focus on the significance of the overall relief obtained

  by the plaintiff[.]” Hensley, 461 U.S. at 435.

          With respect to the calculation of the lodestar, this court must first

  determine the number of hours reasonably expended on the litigation.

  Leonard argues that hours attributable to the claim against Malone and the

  previously dismissed defendants should be excluded from the attorneys’ fees

  award. In support of this argument, Leonard points to the PLRA, which

  states that “fees shall not be awarded, except to the extent that—(A) the fee

  was directly and reasonably incurred in proving an actual violation of the

  plaintiff’s rights[.]” 42 U.S.C. § 1997e(d)(1). Leonard additionally argues




                                            3
Case 5:04-cv-05024-KES    Document 259     Filed 07/14/08   Page 4 of 16 PageID #: 2964




  that case law with respect to § 1983 claims, even without considering the

  more restrictive language in the PLRA, compels the same result.

        The court finds that under the language of the PLRA, Kahle can only

  recover attorneys’ fees that were “directly and reasonably incurred in

  proving an actual violation” of her rights. In this case, Kahle did not

  successfully prove that defendant Malone violated her civil rights by failing

  to properly supervise Leonard. Accordingly, she cannot recover fees for

  hours expended toward that ultimately unsuccessful effort.

        Kahle argues that even though she did not prevail on her claim

  against Malone, the claims against both defendants were interrelated and

  the court should therefore award the entire amount sought. In support of

  this argument, Kahle relies on the Supreme Court decision in Hensley,

  which held:

               Where a plaintiff has obtained excellent results, his
        attorney should recover a fully compensatory fee. Normally this
        will encompass all hours reasonably expended on the litigation,
        and indeed in some cases of exceptional success an enhanced
        award may be justified. In these circumstances the fee award
        should not be reduced simply because the plaintiff failed to
        prevail on every contention raised in the lawsuit. Litigants in
        good faith may raise alternative legal grounds for a desired
        outcome, and the court’s rejection of or failure to reach certain
        grounds is not a sufficient reason for reducing a fee. The result
        is what matters.

               If, on the other hand, a plaintiff has achieved only partial
        or limited success, the product of hours reasonably expended on
        the litigation as a whole times a reasonable hourly rate may be
        an excessive amount. This will be true even where the plaintiff’s

                                          4
Case 5:04-cv-05024-KES    Document 259     Filed 07/14/08   Page 5 of 16 PageID #: 2965




        claims were interrelated, non-frivolous, and raised in good faith.
        Congress has not authorized an award of fees whenever it was
        reasonable for a plaintiff to bring a lawsuit or whenever a
        conscientious counsel tried the case with devotion and skill.
        Again, the most critical factor is the degree of success obtained.

  Hensley, 461 U.S. at 435.

        Kahle contends that the first paragraph of this quote supports her

  position. When read in context with the second paragraph, however, the

  court disagrees with Kahle and finds that Hensley is consistent with the

  PLRA. In this case, it is not a situation wherein Kahle put forth alternative

  theories of liability against a single defendant, and won on one. Rather, she

  asserted different theories of liability against different defendants and

  prevailed against only one of those defendants. The court recognizes that

  the claims are interrelated because they both relate to an incident which

  occurred in the Pennington County Jail on December 14, 2002. Therefore,

  there is substantial overlap in the preparation for and trial of the claims

  against both defendants. As a result, the court finds that Kahle can recover

  attorneys’ fees for hours that were expended in the furtherance of Leonard’s

  claim. Kahle cannot, however, recover for hours that were directly

  attributable solely to her unsuccessful claim against Malone.

        In Leonard’s memorandum in opposition to Kahle’s request for

  attorneys’ fees, Leonard objects to attorneys’ fees he claims are related to

  Kahle’s unsuccessful claim against Malone. See Docket 248, Exs. A & B. A


                                           5
Case 5:04-cv-05024-KES       Document 259   Filed 07/14/08   Page 6 of 16 PageID #: 2966




  significant portion of the hours highlighted by Leonard relate to work done

  by Kahle in response to Malone’s appeal on the sovereign immunity issue.

  Because Kahle ultimately was not a prevailing party with regard to Malone,

  the court agrees that Kahle is not entitled to attorneys’ fees on work done to

  defend the claim on appeal.

        In Kahle’s reply brief, she asserts that Exhibit A contains entries

  directly related to her claim against Leonard. Kahle first identifies entries

  related to the issue of consent, asserting that Kahle explored the possibility

  of moving to strike Leonard’s affirmative defense of consent. Kahle argues

  that the hours were reasonably expended and led directly to her successful

  claim against Leonard. The court agrees that the affirmative defense

  research, even though it did not ultimately result in a motion for the court,

  was directly and reasonably incurred in proving that Leonard violated

  Kahle’s civil rights.

        Kahle, in her reply brief, does not specifically indicate which hours

  she asserts are improperly characterized by Leonard. After reviewing the

  entries, the court overrules Leonard’s objection in part and includes in the

  compilation of attorneys’ fees the following hours incurred in researching

  the consent defense:

               MKS        06/02/2004 1 hour

               APB        11/01/2004 3 hours
                          11/02/2004 3.5 hours

                                            6
Case 5:04-cv-05024-KES    Document 259     Filed 07/14/08   Page 7 of 16 PageID #: 2967




                      11/03/2004     5.5 hours
                      11/04/2004     3.5 hours
                      12/08/2004     2 hours
                      12/29/2004     5 hours
                      02/03/2005     4.5 hours
                      02/04/2005     3 hours

              TLM     12/29/2004 1.5 hours
                      01/07/2005 .5 hours
                      01/20/2005 .25 hours

              SCB     02/06/2005 1 hour

  With respect to any other hours relating to the consent issue, the court

  finds that Kahle has not submitted sufficient documentation to support her

  fees request. See Hensley, 461 U.S. at 434.

        Kahle similarly argues that she is entitled to attorneys’ fees for

  attendance at the Rule 26 meeting. The court agrees that the Rule 26

  meeting was a necessary part of the successful litigation against Leonard.

  Accordingly, the court overrules Leonard’s objection in part and includes the

  time entry by SCB on 5/25/2004 (1.5 hours).

        Kahle argues that she is entitled to recover attorneys’ fees for hours

  used to watch training videos played to Leonard and to review the criminal

  proceedings against him. The court agrees these hours were reasonably

  related to Kahle’s claim against Leonard. Accordingly, the court overrules

  Leonard’s objection in part and includes the time entry of ELO on

  7/19/2004 (7 hours).



                                           7
Case 5:04-cv-05024-KES    Document 259     Filed 07/14/08   Page 8 of 16 PageID #: 2968




        Kahle further argues that she is entitled to attorneys’ fees for hours

  spent preparing to depose Sheriff Holloway because he was aware of the

  factual circumstances of the assault. Kahle similarly argues that she is

  entitled to attorneys’ fees for the preparation of her deposition of Bishop.

  The court agrees that the depositions of both Sheriff Holloway and Bishop

  were necessary because both were relevant witnesses to Kahle’s claim

  against Leonard. Further, the preparation totaled less than seven hours,

  which the court finds is reasonable. Kahle further asserts that she is

  entitled to attorneys’ fees for time spent preparing to cross-examine Malone.

  The court agrees that Malone was also a relevant fact witness, but finds that

  Kahle is not entitled to fees for the entirety of the preparation because a

  significant portion was undoubtedly related to her claim against Malone.

  The court will therefore reduce by 50 percent the time spent preparing to

  cross-examine Malone. Accordingly, the court overrules Leonard’s objection

  in part and includes the following time entries:

              SCB     03/16/2005 4.1 hours
                      02/12/2008 2.5 hours
                      02/10/2008 3.25 hours

        Finally, Kahle asserts that she is entitled to recover hours expended

  by her counsel evaluating the issue of insurance coverage. The court agrees

  that such research was relevant to Kahle’s settlement demand to Leonard.




                                           8
Case 5:04-cv-05024-KES      Document 259   Filed 07/14/08   Page 9 of 16 PageID #: 2969




  Accordingly, the court overrules Leonard’s objection in part and includes the

  following time entries:

              BJL     11/15/2007 2.1 hours
                      11/19/2007 2.3 hours
                      12/17/2007 1 hour

              TBJ     11/19/2007 2 hours

              SCB     11/19/2007 1.9 hours

        The remainder of the hours objected to by Leonard, to which Kahle

  did not respond, are excluded by the court from Kahle’s attorneys’ fees

  award.

        The court must now determine the reasonable hourly rate for the

  attorneys representing Kahle. Pursuant to the PLRA: “No award of

  attorney’s fees . . . shall be based on an hourly rate greater than 150

  percent of the hourly rate established under section 3006A of Title 18 for

  payment of court-appointed counsel.” 42 U.S.C. § 1997e(d)(3). Both parties

  agree that the rate yielded by that calculation is $150. Leonard does not

  object to the rate of $75 per hour for Kahle’s paralegal nor does he object to

  the rate of $75 per hour for law clerks that worked on Kahle’s file.

  Accordingly, the court finds those rates to be reasonable.

  II.   Enhancement

        Kahle further moves the court to apply a one-third multiplier to the

  attorneys’ fee award in this case. Leonard objects to the enhancement,


                                           9
Case 5:04-cv-05024-KES     Document 259 Filed 07/14/08      Page 10 of 16 PageID #:
                                      2970



arguing that under the language of 42 U.S.C. § 1997e(d)(3) of the PLRA, this

court cannot apply an enhancement. § 1997e(d)(3) states that no award

“shall be based on an hourly rate greater than 150 percent” of the statutory

fee. A plain reading of the statute limits the hourly rate to $150 per hour.

III.   Costs of Litigating the Attorneys’ Fee Claim

       Kahle also requests that the attorneys’ fee award in this case include

the time incurred litigating the attorneys’ fee request. Time spent litigating

the request for attorneys’ fees, including preparation of the motion and

accompanying brief, can be recovered as a component of Kahle’s attorneys’

fees. See Jones v. MacMillan Bloedel Containers, Inc., 685 F.2d 236, 239

(8th Cir. 1982). Leonard does not object to Kahle’s request for these costs.

The court has reviewed the supporting documentation submitted by Kahle

in relation to this request and finds an award in the amount of $8,624.12

for the time associated with Kahle’s attorneys’ fees request to be

appropriate.

IV.    Calculation of Attorneys’ Fees

       Based upon the rulings of this court, Kahle is entitled to the following

award of attorneys’ fees, which includes fees incurred by Kahle in litigating

her attorneys’ fees request:




                                        10
Case 5:04-cv-05024-KES       Document 259 Filed 07/14/08      Page 11 of 16 PageID #:
                                        2971



 Attorney                     Hours     Rate       Total           Grand Total

 Stephen C. Beardsley        371.15     $150     $55,672.50

 Ted L. McBride               12.95     $150       1,942.50

 Michael K. Sabers             3.2      $150         480.00

 Travis B. Jones               2.0      $150         300.00

 Anthony P. Bolson            44.9      $150       6,735.00

 Brad J. Lee                 396.8      $150      59,520.00

 Elizabeth M. Frederick      262.6 2    $150      39,390.00

 Total Attorneys’ Fees                                               164,040.00

 Paralegal Lisa A. Fitzner   113.5       $75       8,512.50

 Total Paralegal Fees                                                  8,512.50

 Law Clerk Erik L. Olson      27.05      $75       2,028.75

 Law Clerk Jeffrey Roby       14.5       $75       1,087.50

 Total Law Clerk Fees                                                  3,116.25

 TOTAL ALL FEES                                                      175,668.75

 Sales Tax (6% )                                                      10,540.13

 FEES AND SALES TAX                                                $186,208.88


V.     Non-Taxable Costs

       A.      Out-of-Pocket Costs

       Kahle seeks reimbursement for non-taxable costs incurred as a result

of this litigation. A prevailing party can recover reasonable out-of-pocket


       2
        The court notes that in Kahle’s memorandum in support of her motion
for attorneys’ fees, she asserts attorney Elizabeth Frederick should be
compensated for 320.5 hours of work on this case. The invoice submitted by
Frederick, however, only documents 278.6 hours expended by Frederick during
the course of litigation. To the extent Kahle asserts Frederick is entitled to
additional hours, the court finds that Frederick has not submitted sufficient
documentation in support of that request. See Hensley, 461 U.S. at 434.
Using 278.6 as a starting figure, the court subtracted the hours objected to by
defendant to reach 262.6 hours.

                                         11
Case 5:04-cv-05024-KES     Document 259 Filed 07/14/08     Page 12 of 16 PageID #:
                                      2972



expenses incurred by that party’s attorney as a part of a reasonable

attorneys’ fee award. Pinkham v. Camex, Inc., 84 F.3d 292, 294-95 (8th Cir.

1996). Out-of-pocket expense are only recoverable, however, if they are the

type that are normally charged by attorneys to their clients. Id. Kahle

seeks $11,006.81 for expenses that include long distance phone calls,

medical fees, and airfare. Kahle further asserts that these charges are of

the type normally charged to clients and that they were reasonable and

necessary to effectively litigate her case.

      Leonard does not object to the imposition of the out-of-pocket

expenses claimed by Kahle. Further, the PLRA does not circumscribe the

ability of a prevailing party to recover out-of-pocket costs as a component of

an attorneys’ fee award. Accordingly, the out-of-pocket costs sought by

Kahle are hereby awarded.

      B.     Travel Expenses

      During the course of this litigation, Kahle has been incarcerated at

the female prison in Pierre, South Dakota. This court ordered, in a writ of

habeas corpus ad testificandum, that Kahle be produced in Rapid City for

trial. Docket 167. The South Dakota Women’s Penitentiary has billed Kahle

for the expenses associated with complying with this writ. Kahle requests

that Leonard be ordered to pay her transportation, housing, and supervision




                                         12
Case 5:04-cv-05024-KES    Document 259 Filed 07/14/08      Page 13 of 16 PageID #:
                                     2973



costs incurred during the course of the trial. Kahle asserts that the costs

are out-of-pocket expenses that were billed to Kahle and that they were

reasonable and necessary to litigate this matter. Leonard objects to

reimbursing her for these expenses, and argues:

      There is no support for such reimbursement, otherwise any
      plaintiff who resides away from the site of trial would be entitled
      to lodging and mileage expense during trial. Plaintiff’s
      circumstance has nothing to do with the issues in the case, and
      certainly nothing to do with Jermaine Leonard and the merits of
      the claim against him.

Docket 248 at 11.

      The parties have not cited, and this court’s research has not revealed,

any authority on whether costs to transport an inmate litigant can be taxed

upon the losing party by the prevailing plaintiff. There is no evidence in the

record, however, that this expense was incurred by Kahle’s counsel or that

such expenses are normally charged by attorneys to their clients. See

Pinkham, 84 F.3d at 294-295 (out-of-pocket expenses are recoverable only if

of a type normally charged by attorneys to their clients). Accordingly, the

court denies awarding these costs.

      C.    Expert Fees

      Kahle moves the court to award her the costs of her expert, Dr. Dewey

Ertz. Leonard objects to imposition of this cost, arguing that it is not

authorized under § 1988 or the PLRA.



                                        13
Case 5:04-cv-05024-KES     Document 259 Filed 07/14/08      Page 14 of 16 PageID #:
                                      2974



       It is well settled that the cost taxing provisions contained in 28 U.S.C.

§§ 1821 and 1920 limit witness fees, including expert witness fees, to a $40-

per-day attendance fee. See W. Va. Univ. Hosps., Inc. v. Casey, 499 U.S.

83, 87, 111 S. Ct. 1138, 1141, 113 L. Ed. 2d 68 (1991). Recovery of expert

witness fees exceeding $40 per day requires “explicit statutory authority.”

Id. Following the Court’s decision in West Virginia University Hospitals,

Congress enacted 42 U.S.C. § 1988(c) which allows the award of expert fees

as part of an attorneys’ fees award “in any action or proceeding to enforce a

provision of section 1981 or 1981a.” No similar relevant provision exists

with regard to a claim pursuant to § 1983. See Jenkins by Jenkins v. State

of Mo., 158 F.3d 980, 983 (8th Cir. 1998). Kahle’s motion for expert witness

fees, which exceed $40 per day, is therefore denied.

VI.    Taxable Costs

       Kahle requests that defendant pay the taxable costs associated with

this case pursuant to 28 U.S.C. § 1920. The total of the costs is $7,713.18.

Leonard does not object to the motion for taxable costs and they are

therefore awarded.

VII.   Allocation of Kahle’s Recovery

       42 U.S.C. § 1997e(d)(2) states that “[w]henever a monetary judgment

is awarded [in an action brought by a prisoner], a portion of the judgment

(not to exceed 25 percent) shall be applied to satisfy the amount of the


                                         14
Case 5:04-cv-05024-KES    Document 259 Filed 07/14/08      Page 15 of 16 PageID #:
                                     2975



attorney’s fees awarded against the defendant.” There is no guidance within

the statute with regard to what the court should consider in determining the

appropriate percentage pursuant to § 1997e(d)(2). See also Jackson v.

Austin, 267 F. Supp. 2d 1059 (D. Kan. 2003) (noting that there is no clear

consensus regarding how the court should determine the appropriate

percentage it applies toward fees). Further, in Lawrence v. Bowersox, 297

F.3d 727 (8th Cir. 2002), even though the Eighth Circuit remanded the case

and ordered the district court to apply 42 U.S.C. § 1997e(d)(2), it gave the

district court no guidance in the application of the statute.

      On remand in Bowersox, the district court applied one percent of the

$10,000 judgment toward the attorneys’ fees award of $15,000. See

Boesing v. Hunter, 2007 WL 1485976 (E.D. MO. 2007) (unpublished). In

Boesing the district court also applied one percent of the $25,000 judgment

to the $37,500 attorneys’ fees award. Id. The court similarly finds one

percent to be the appropriate figure in this case. Kahle received a judgment

of $1.1 million. One percent of that judgment is $11,000. Accordingly, the

attorneys’ fees award reached above ($175,668.75 plus sales tax of

$10,540.13) is reduced by $11,000 to $175,208.88.

      Based on the foregoing, it is hereby

      ORDERED that plaintiff’s motion for attorneys’ fees, sales tax, and

costs (Docket 238) is granted in the amount of $175, 208.88 for attorneys’


                                        15
Case 5:04-cv-05024-KES   Document 259 Filed 07/14/08      Page 16 of 16 PageID #:
                                    2976



fees and sales tax, $11,006.81 for non-taxable costs, and $7,713.18 for

taxable costs, for a total amount of $193,928.87.

      Dated July 14, 2008.

                                  BY THE COURT:



                                  /s/ Karen E. Schreier
                                  KAREN E. SCHREIER
                                  CHIEF JUDGE




                                      16
